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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
BILLIE D. McKINNIE, )
Plaintiff, j
vs. j Civil Action No.: 1:03-1226-B/P
CORRECTIONS CORPORATION j
OF AMERICA, et al., )
Defendants. i

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT lS, THEREFORE, ORDEREI), ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, lnc., Correctional
Management Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by
either party.

This document entered on the docket sheet ln compllance
with sine ss and or 79 (a) FHCP on 127 ' 05 O16

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Dated: this /_S:F dayof© ,2005.

@J>

J. DANIEL BREEN\
U IT sTATEs I)ISTRICT JUDGE

 

 

 

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

I certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,

Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on June ZQ, 2005.

PENTECOST, GLENN & RUDD, PLLC

%ZMM>%;D

J ames I. Pentecost (#01 1640)
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Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:03-CV-01226 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

